     Case 5:23-cv-00012-MFU-JCH            Document 205       Filed 02/10/25    Page 1 of 1
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                     IN THE UNITED STATE S DISTRICT COU RT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                            HARRISONBURG DIVISION                                  February 10, 2025
                                                                               LAURA A. AUSTIN, CLERK
SAMUEL JOSEPH ORLANDO,                                                           BY: s/J.Vasquez
                                                )
                                                )
       Plaintiff,                               ) Case No. 5:23-cv-012
                                                )
v.                                              ) By:   Michael F. Urbanski
                                                ) Senior United States District Judge
REBE CCA BYRD N EAL et al.,                     )
                                                )
       Defendants.                              )

                                             ORDE R

       This matter is before the court on plaintiff Samuel Joseph Orlando's motion to

dismiss this case without prejudice. E CF       o. 203. The motion is DENIED. Defendants

Rebecca Byrd        eal and Bristol Neal have not agreed to dismiss this case without prejudice.

The mediation scheduled for February 10, 2025, will go forward. If the matter is not

resolved at mediation, the trial scheduled to begin February 11, 2025, will proceed, weather

permitting, on the first available date this week.

       It is SO ORDERED.

                                                            Entered: February 10, 2025



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                                                            Michael F. Urbanski
                                                            Senior United States District Judge
